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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 GALVESTON DIVISION

  GRETRINA HARRIS, individually and               §
  as n/f/o Minor Children A*****                  §
  W******** and E*** W********; and               §
  TRANESHA JONES as n/f/o Minor                   §
  Child M***** B****,                             §
          Plaintiffs,                             §    C.A. NO. _________________
                                                  §
  vs.                                             §
                                                  §
  UNITED STATES OF AMERICA,                       §
       Defendant.                                 §



                                  ORIGINAL COMPLAINT


TO THE HONORABLE UNITED STATES DISTRICT/MAGISTRATE JUDGE:

        COME NOW PLAINTIFFS, GRETRINA HARRIS, Individually and as Next Friend Of

Minor Children A***** W******** and E*** W********, and TRANESHA JONES as Next

Friend Of Minor Child M***** B****, and complain of the UNITED STATES OF AMERICA,

acting by and through the acts of its agents and employees, and will respectfully show unto this

Honorable Court as follows:

                                                I.
                                 FEDERAL JURISDICTION

        1.     This action for the recovery of monetary damages for personal injuries against the

UNITED STATES OF AMERICA is premised upon the Federal Tort Claims Act (28 U.S.C. §

2671, et. seq.). This Court has original and exclusive jurisdiction over this matter pursuant to 28

U.S.C. § 1346(b).
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       2.      Plaintiffs suffered injuries and damages as a result of the negligence of an employee

of the United States Government, while said employee was acting within the course and scope of

his employment. The UNITED STATES OF AMERICA, if a private person, would be liable to

Plaintiffs in accordance with the laws of the doctrine of respondeat superior and other applicable

law. The UNITED STATES OF AMERICA is the proper defendant pursuant to 28 U.S.C. §§

2674 and 2679.

                                                 II.
                                             VENUE

       3.      All plaintiffs to the action reside within the Southern District of Texas, and the acts

and omissions giving rise the alleged damages sustained by Plaintiffs occurred in the Southern

District of Texas. Venue is proper in this Court pursuant to 28 U.S.C. § 1402(b).

                                                III.
                                            PARTIES

       4.      Plaintiffs GRETRINA HARRIS, Individually and as Next Friend Of Minor

Children A***** W******** and E*** W********, are individuals residing within the

jurisdiction of the Southern District of Texas and this Court.

       5.      Plaintiff TRANESHA JONES as Next Friend Of Minor Child M***** B****, is

an individual residing within the jurisdiction of the Southern District of Texas and this Court.

       6.      Defendant UNITED STATES OF AMERICA may be served with process pursuant

to Rule 4(i)(1) of the Federal Rules of Civil Procedure by serving a copy of the complaint and

summons to the United States Attorney for the Southern District of Texas pursuant to said United

States Attorney’s published temporary measure due to COVID-19 concerns, whereby a copy of

the complaint and summons shall be emailed to USATXS.CivilNotice@usdoj.gov and separate

copy mailed to the Civil Process Clerk, United States Attorney’s Office, 1000 Louisiana Street,
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Suite 2300, Houston, Texas 77002, and forwarding a copy of same by certified mail, return receipt

requested, to the Attorney General of the United States, at U.S. Department of Justice, 950

Pennsylvania Avenue, NW, Washington, DC 20530-0001.

                                                 IV.
                    COMPLIANCE WITH THE CLAIMS PROCEDURE

       7.      On September 20, 2021, Plaintiff HARRIS timely filed her Standard Form 95

Claim for Damage, Injury, or Death with the United States Postal Service pursuant to the

provisions of the Federal Tort Claims Act, 28 U.S.C. §§ 1346(b) and 2671-2680. The United

States Postal Service acknowledged receipt of Plaintiff HARRIS’ claim on October 7, 2021. True

and correct copies of Plaintiff HARRIS’ SF-95 and the United States Postal Service’s

acknowledgment are attached hereto as Exhibit A.

       8.      On November 5, 2021, Plaintiffs GRETRINA HARRIS as Next Friend Of Minor

Children A***** W******** and E*** W********, and TRANESHA JONES as Next Friend

Of Minor Child M***** B**** timely filed their Standard Form 95 Claim for Damage, Injury, or

Death with the United States Postal Service pursuant to the provisions of the Federal Tort Claims

Act, 28 U.S.C. §§ 1346(b) and 2671-2680. The United States Postal Service acknowledged receipt

of Plaintiffs GRETRINA HARRIS as Next Friend Of Minor Children A***** W******** and

E*** W********, and TRANESHA JONES as Next Friend Of Minor Child M***** B****

claims on December 1, 2021. True and correct copies of these plaintiffs’ SF-95 and the United

States Postal Service’s acknowledgment are attached hereto as Exhibit B.

       9.      As of the date of this Complaint, more than six months have passed since the filing

of Plaintiffs’ claims, and Defendant UNITED STATES OF AMERICA has not provided any

notice of acceptance nor final denial of Plaintiffs’ claims. Accordingly, pursuant to 28 U.S.C. §

2675(a), Plaintiffs have elected to consider such failure to act as final denial of their claims.
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          10.   Plaintiffs have complied with all administrative requirements to assert this action,

and all administrative remedies have been exhausted.

          11.   In compliance with 28 U.S.C. § 2401, Plaintiffs bring their causes of action herein

against Defendant UNITED STATES OF AMERICA more than six months after filing notice of

their claims to the appropriate federal agency within six (6) months of the event giving rise to their

claims.

                                                  V.
                                               FACTS

          12.   On the afternoon of June 4, 2021, Plaintiffs GRETRINA HARRIS, Individually

and as Next Friend Of Minor Children A***** W******** and E*** W********, and

TRANESHA JONES as Next Friend Of Minor Child M***** B**** (hereinafter collectively

“Plaintiffs”) were travelling in a motor vehicle westbound on Greens Road in Houston, Texas,

with Plaintiff GRETRINA HARRIS, individually, (hereinafter “HARRIS”) operating the motor

vehicle. As Plaintiffs’ vehicle entered the intersection of Greens Road with Central Green Blvd,

suddenly, unexpectedly, and without warning, a USPS tractor-trailer operated by Clarence

Burchett, Jr. crashed into Plaintiffs’ vehicle. Upon information and belief, at all times relevant

hereto, Clarence Burchett, Jr. was acting within the course and scope of his employment as a

United States Postal Carrier for the USPS. The USPS is an agency of Defendant UNITED

STATES OF AMERICA.

          13.   Upon further information and belief, Defendant UNITED STATES OF

AMERICA, by and through its employee, agent, and servant, Clarence Burchett, Jr., negligently

and carelessly operating the USPS tractor-trailer so as to cause it to collide with Plaintiffs’ vehicle,

failed to yield right of way to Plaintiffs’ vehicle, failed to exercise caution and maintain a proper

lookout, failed to pay attention to driving conditions, failed to control the speed of the USPS
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tractor-trailer at the time of the collision, failed to maintain proper control of the USPS tractor-

trailer in a manner in which a reasonable and prudent person would have done under the same or

similar circumstances, failed to take proper evasive action to avoid the collision, failed to timely

apply the brakes of the USPS tractor-trailer in a timely manner and with sufficient force to avoid

the collision, failed to turn the USPS tractor-trailer to avoid the collision, failed to operate the

USPS tractor-trailer at a safe speed and in a safe manner, failed to give warning of the impending

collision, driving the USPS tractor-trailer with a willful and wanton disregard for the safety of

persons or property in violation of the Texas Transportation Code sections 544.010, 545.151,

545.153, and 545.401, V.T.C.A., Federal Motor Carrier Safety Act, among other applicable

regulations, said actions constituting negligence per se, and other acts of negligence.

       14.     Under these facts and circumstances, and under the laws of the State of Texas, the

person responsible for the operation of a motor vehicle in the manner described herein, if he were

a private person, would be liable to Plaintiffs for their damages resulting from the collision.

       15.     At the date and time of this collision, Defendant UNITED STATES OF

AMERICA, by and through its employee, agent, and servant, Clarence Burchett, Jr., failed to

exercise ordinary care and otherwise violated its statutory and common law duties to Plaintiffs as

described herein, and its negligence and negligence per se was a substantial factor in causing

Plaintiffs’ injuries and damages.

       16.     As a direct and proximate result of the negligent and careless conduct of Defendant

UNITED STATES OF AMERICA, by and through its employee, agent, and servant, Clarence

Burchett, Jr., and without any negligence on the part of Plaintiffs, Plaintiffs sustained severe and

lasting injuries, impairment of bodily functions, have been caused to incur healthcare expenses in

the past, are expected to incur additional healthcare expenses in the future, have suffered increased
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likelihood of and susceptibility to injury and disease, have been deprived of their enjoyment of

life, suffered permanent injuries, been subjected to pain, suffering, and mental anguish in the past,

and will endure same in the future.

                                                VI.
                         NEGLIGENCE AND NEGLIGENCE PER SE

       17.     Defendant UNITED STATES OF AMERICA, acting through its employee,

Clarence Burchett, Jr., owed Plaintiffs a duty to operate the USPS tractor-trailer in a reasonable

and safe manner. Defendant UNITED STATES OF AMERICA, acting through its employee,

Clarence Burchett, Jr., breached its duty of reasonable care owed to Plaintiffs in one or more of

the following manners:

               a. failing to exercise caution and maintain a proper lookout;

               b. failing to pay attention to driving conditions;

               c. failing to control the speed of the USPS tractor-trailer at the time of the

                   collision;

               d. failing to maintain proper control of the USPS tractor-trailer in a manner

                   in which a reasonable and prudent person would have done under the

                   same or similar circumstances;

               e. failing to take proper evasive action to avoid the collision;

               f. failing to timely apply the brakes of the USPS tractor-trailer in a timely

                   manner and with sufficient force to avoid the collision;

               g. failing to turn the USPS tractor-trailer to avoid the collision;

               h. failing to operate the USPS tractor-trailer at a safe speed and in a safe

                   manner;

               i. failing to give warning of the impending collision;
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                j. driving the USPS tractor-trailer with a willful and wanton disregard for

                   the safety of persons or property in violation of the Texas Transportation

                   Code sections 544.010, 545.151, 545.153, and 545.401, V.T.C.A.,

                   Federal Motor Carrier Safety Act, among other applicable regulations,

                   said actions constituting negligence per se; and

                k. other acts of negligence, incompetence, and/or omissions which may be

                   proved at trial.

          18.   Each of these acts and/or omissions by Defendant UNITED STATES OF

AMERICA, acting through its employee, Clarence Burchett, Jr., jointly or individually, singularly

or in combination with others, constitute negligence and/or negligence per se, which proximately

caused the subject collision and the injuries and damages sustained by Plaintiffs. Nothing

Plaintiffs did or failed to do caused or contributed to the collision made the basis of this suit or

Plaintiffs’ resulting injuries and damages.

          19.   The identified sections of the Texas Transportation Code are designed to protect a

class of persons to which Plaintiffs belong against the type of injury suffered by Plaintiffs. The

identified sections of the Texas Transportation Code are of the type that impose tort liability.

Defendant UNITED STATES OF AMERICA’s violations of the identified sections of the Texas

Transportation Code, acting through its employee, Clarence Burchett, Jr., were without legal

excuse.

          20.   As a direct and proximate result of Defendant UNITED STATES OF AMERICA’s,

acting through its employee, Clarence Burchett, Jr., breach(es) its duty of reasonable care owed to

Plaintiffs, Plaintiffs have suffered serious bodily injury, including, pain and suffering, disability,

disfigurement, mental anguish, loss of capacity for the enjoyment of life, medical expenses and
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other expenses directly related to their injuries suffered, rehabilitation care, lost wages, and loss of

earning capacity. Within a reasonable degree of medical probability, Plaintiffs’ injuries and losses

are permanent and/or continuing, and Plaintiffs will continue to suffer these losses and injuries in

the future.

                                                 VII.
                                              PRAYER

        WHEREFORE, Plaintiffs GRETRINA HARRIS, Individually and as Next Friend Of

Minor Children A***** W******** and E*** W********, and TRANESHA JONES as Next

Friend Of Minor Child M***** B****, pray for entry of a judgment in their favor against

Defendant, UNITED STATES OF AMERICA, for damages, including economic and non-

economic damages, interest, costs, and all other relief to which they may be entitled and as this

Court may deem just and proper.

                                                        Respectfully submitted,
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